68 F.3d 459
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Denrick Eric BROWN, Petitioner-Appellant,v.David A. WILLIAM, Respondent-Appellee.
    No. 95-6947.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Sept. 21, 1995.Decided:  Oct. 10, 1995.
    
      Denrick Eric Brown, Appellant Pro Se.
      Before RUSSELL, MURNAGHAN and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 28 U.S.C. Sec. 2254 (1988) complaint.  The district court assessed a filing fee in accordance with Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Appellant failed to comply with the fee order.  Finding no abuse of discretion, we deny leave to proceed in forma pauperis, deny a certificate of probable cause to appeal, and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    